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         Toby S. Soli
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                                                          October 25, 2023        The extension requested herein is granted. A
                                                                                  conference to address the issue regarding Mr.
                                                                                  Maloney's representation of Vincent Wenyong Shi and
         VIA ECF
                                                                                  Link Motion, Inc. is hereby scheduled for November
         The Honorable Valerie Figueredo                                          14, 2023 at 11:00 a.m. Counsel for the parties are
         Southern District of New York                                            directed to call Judge Figueredo’s AT&T conference
                                                                                  line at the scheduled time. Please dial (888)
         500 Pearl Street
                                                                                  808-6929; access code [9781335]. The Clerk of Court
         New York, New York 10007                                                 is directed to terminate the motion at ECF No. 489.
         Re:       Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (VF):
                   Motion for Extension of Time to File Opposition to Motion to Dismiss

         Dear Judge Figueredo:

                 Undersigned counsel writes on behalf of Plaintiff Wayne Baliga to request a twenty-eight-
         day extension of time to file his Opposition to Defendant Vincent Wenyong Shi’s Motion to
         Dismiss the Common Law Fraud Claim. This would extend the deadline from October 25, 2023,
         to November 22, 2023. Plaintiff’s counsel conferred with Michael James Maloney, counsel for
         Defendant Shi, who agreed to the requested twenty-eight-day extension. Counsel for Baliga
         circulated a draft stipulation on October 20, 2023. In response, Maloney requested until December
         21, 2023, to respond to the Baliga’s Opposition. Counsel for Baliga consented to request.

                Ultimately, the Parties could not reach agreement on the language of the Stipulation for
         Extension of Time. Baliga does not concede that Maloney had authority to file the Motion to
         Dismiss the Common Law Fraud Claim on behalf of Link Motion, Inc. and reserved the right to
         challenge Maloney’s authority to act on behalf of Link Motion in the draft stipulation. Counsel for
         Shi took issue with Baliga’s draft language and did not respond after 3:30 pm, October 23, 2023.
         Because today is the opposition deadline, Baliga files this motion in place of the previously
         intended stipulation.

                   The Parties have not made any prior requests for extension of time regarding these filings.

                                                                   Respectfully submitted,

                                                                   GREENBERG TRAURIG, LLP

                                                                   By: /s/ Toby S. Soli
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                                                                   Counsel for Plaintiff
         cc:       All counsel of record (via ECF)


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